     Case
      Case4:17-cv-01532
           4:17-cv-01532 Document
                          Document21-1
                                   23 Filed
                                       FiledininTXSD
                                                 TXSDon
                                                      on08/21/17
                                                         08/20/17 Page
                                                                   Page11ofof15
                                                                              15



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

BRIAR CAPITAL L.P.,                                  §
      Plaintiff,                                     §
                                                     §
v.                                                   §       C.A. NO. 4:17-cv-OlS32
                                                     §
THE HANOVER INSURANCE COMPANY                        §
      Defendant.                                     §

                        FIRST AMENDED ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

        COMES NOW BRIAR CAPITAL L.P. ("Briar Capital"), and submits its First Amended

Original Complaint against THE HANOVER INSURANCE COMPANY ("Hanover"), and

respectfully shows as follows:

                                 PARTIES AND JURISDICTION

        I.     Briar Capital is a Texas limited partnership which conducts business in Harris

County, Texas and within the jurisdiction of this Honorable Court.

       2.      Hanover is a New Hampshire corporation licensed to conduct business in Texas.

Hanover has appeared and answered herein.

       3.      Briar Capital and Hanover have each alleged that this Court has jurisdiction

pursuant to 28 U.S.C. § 1331.

                                  FACTUAL BACKGROUND

Forward's Defrauding of Briar Capital

       4.      Briar Capital is a specialty finance company which provides asset based lending

and a factoring facility for small and mid-market companies.

       5.      Factoring is a financing transaction, sometimes referred to as accounts receivable

financing, in which a business sells its invoices, or receivables, to a third art financial company
                                                 1
                                                                           EXHIBIT

                                                                     I   _ _.:.:.A_ __
    Case
     Case4:17-cv-01532
          4:17-cv-01532 Document
                         Document21-1
                                  23 Filed
                                      FiledininTXSD
                                                TXSDon
                                                     on08/21/17
                                                        08/20/17 Page
                                                                  Page22ofof15
                                                                             15



known as a "factor." The factor then collects on those invoices, typically directly from the

business' customers.

        6.    Forward Components, Inc. ("Forward") is a distribution and stocking facility which

provides component engineering and traceable material support to aerospace and defense

industries.

        7.    On May 8, 2012, Briar Capital and Forward entered into a Sale of Accounts and

Security Agreement ("the Agreement").

        8.    Under the Agreement, Briar Capital agreed to purchase various "accounts and

related interests" from Forward for the Net Invoice Amount less Briar Capital's factoring

commission.

       9.     Briar Capital and Forward developed a course of dealings regarding the factoring

transactions under the Agreement.

        10.   When Briar Capital factored Forward's accounts receivable ("Accounts") from

Forward, each Account was an integrated document consisting of:

              (a)      a "Schedule of Accounts Sold/Bill of Sale" (the "Schedule") which
                       included the schedule date, schedule number, name of account
                       debtor, invoice number(s), invoice date and amount of each invoice
                       sold, and signature of authorized signer of Forward.

              (b)      Forward's invoice to its customer (the "Account Debtor") for the
                       commodities, technology or software which Forward sold to the
                       Account Debtor. Each invoice included the purchase order number,
                       a description of the product( s) sold, the quantity, the amount
                       charged, and shipment tracking information.          The tracking
                       information allowed Briar Capital to confirm that Forward's product
                       had been received by the Account Debtor.

              (c)      the Account Debtor's purchase order, which identified Forward as
                       the supplier, the Account Debtor's contact information, the
                       product(s) being purchased, the price of the product(s), and the
                       shipping address.


                                                2
    Case
     Case4:17-cv-01532
          4:17-cv-01532 Document
                         Document21-1
                                  23 Filed
                                      FiledininTXSD
                                                TXSDon
                                                     on08/21/17
                                                        08/20/17 Page
                                                                  Page33ofof15
                                                                             15



        II.    Briar Capital provided factoring to Forward between 2012-2016. The vast majority

of the purchase orders and invoices in the Schedules were transactions between Forward and its

principal customers, Honeywell International, Inc. and numerous subsidiaries ("Honeywell").

During that four year period, Forward sold Briar Capital numerous Honeywell Accounts.

Payments for the Accounts were typically late. Forward President Scott Wilkosz ("Wilkosz")

continually, and, as was later discovered, falsely represented that many of the Honeywell

subsidiaries would not pay Briar Capital directly and would only pay Forward. Wilkosz repeatedly

blamed the late payments on Honeywell's business practices and payment terms.

        12.    During March through August, 2016, Forward's payments to Briar Capital for the

Honeywell Accounts slowed down considerably.          Briar Capital repeatedly pressed Forward

President Wilkosz for collections and answers as to why the Honeywell payments had slowed

considerably. Wilkosz made excuses and offered promises, but without effect.

       13.    In early August 2016, Briar Capital engaged a field examiner to inspect the books

and records of Forward. The field exam report came back with no exceptions. However, no

progress was made regarding the Honeywell payments in September and October.

       14.     Accordingly, in late October, 2016, Briar Capital launched an investigation into the

reasons for the Honeywell late payments.

       15.     On or about November 2, 2016, Briar Capital discovered that 15 Honeywell

Accounts (including 15 Schedules, 22 purchase orders and invoices) which it purchased from

Forward were fraudulent. In a conference call with Briar Capital representatives and a Forward

business consultant, Wilkosz openly confessed that he had committed fraud when Forward sold

the Accounts to Briar Capital.




                                                3
    Case
     Case4:17-cv-01532
          4:17-cv-01532 Document
                         Document21-1
                                  23 Filed
                                      FiledininTXSD
                                                TXSDon
                                                     on08/21/17
                                                        08/20/17 Page
                                                                  Page44ofof15
                                                                             15



           16.   Wilkosz altered each of the 22 purchase orders in the Accounts by taking genuine

Honeywell electronic PDF purchase orders to Forward and modifying them in an Adobe Systems

International ("Adobe") software program. The altered purchase orders contained substantially

larger quantities of products, and, occasionally different unit prices, than those Honeywell had

actually ordered. And of course, the altered purchase orders reflected substantially higher "Net

Values Excluding TAX" than the genuine purchase orders.

           17.   Wilkosz also altered the invoices Forward sent to Honeywell for the genuine

Honeywell purchase orders. Wilkosz took the 22 invoices Forward actually sent to Honeywell for

the genuine purchase orders and altered the invoice number, quantity, (occasionally) unit price and

amount to match the altered Honeywell purchase orders.

       18.       Finally, Wilkosz filled in the relevant sections of the Schedule and forwarded the

complete Account including the Schedule, altered purchase order(s), and altered invoice(s) to Briar

Capital.

       19.       Briar Capital then extended credit, or gave value for, each Account and relied in

good faith on each component of the Account, including the altered purchase orders and invoices.

       20.       The fraudulent Accounts which Briar Capital purchased from Forward currently

total in excess of Nine Hundred Thousand and NollOO Dollars ($900,000.00) and the losses

increase each month they are not paid.

The Hanover Financial Institution Bond

       21.       Briar Capital is the insured under Hanover's Financial Institution Bond form No.

15, bearing BFD 1045523 (the "Bond").

       22.       The Bond essentially provides coverage up to policy limits of $1,500,000, for

several categories of crime and fraud coverage:


                                                  4
    Case
     Case4:17-cv-01532
          4:17-cv-01532 Document
                         Document21-1
                                  23 Filed
                                      FiledininTXSD
                                                TXSDon
                                                     on08/21/17
                                                        08/20/17 Page
                                                                  Page55ofof15
                                                                             15



                Fidelity;
                Loss of Property on Premises;
                Loss of Property In Transit;
                Forgery or Alteration;
                Securities; Counterfeit Currency;
                Forgery of Negotiable Instruments or Withdrawal Orders;
                Voice Initiated Transfer Fraud;
                Telefacsimile Transfer Fraud;
                Computer Systems Fraud;
                ERISA Losses; and
                AuditiExpenses.


        23.     The Bond contains several Insuring Agreements which apply to the losses Briar

Capital sustained as a result of Forward's fraudulent scheme. Based upon the investigation it has

conducted to date, Briar Capital presently contends that Sections "D" and "E" apply to the Forward

losses. If subsequent investigation uncovers evidence that other Insuring Agreements in the

Hanover Bond apply to the Forward losses, Briar Capital reserves the right to assert those

Agreements and amend its Complaint to include them in this litigation.

        24.     Section D of the Bond provides:

                                      FORGERY OR ALTERATION

                (D)    Loss resulting directly from Forgery or alteration of, on, or in any
                Negotiable Instruments (except registered or bearer obligations) made or
                drawn by or drawn upon the insured, or made or drawn by one acting as
                agent of the insured, or purporting to have been made as herein before set
                forth:

                A mechanically reproduced facsimile signature is treated the same as a
                handwritten signature.

       25.      The Bond defines "Negotiable Instrument" as "any writing (I) signed by the maker

or drawer; (2) containing any unconditional promise to pay a sum certain in Money and no other

promise, order, obligation, or power given by the Maker or drawer' and, is payable on demand or

at a definite time; and (3) is payable to order or bearer."


                                                   5
   Case
    Case4:17-cv-01532
         4:17-cv-01532 Document
                        Document21-1
                                 23 Filed
                                     FiledininTXSD
                                               TXSDon
                                                    on08/21/17
                                                       08/20/17 Page
                                                                 Page66ofof15
                                                                            15



       26.     Each Forward Account was a Negotiable Instrument; each was altered and Briar

Capital's losses resulted directly from the alterations in the Accounts.

       27.     Section E of the Bond provides:

                                               SECURITIES

               (E)   Loss resulting directly from the insured having, in good faith, for its
               own account or for the account of others,

                      (l)    acquired, sold or delivered, or given value, extended credit
               or assumed liability, on the faith of, any original:

                               (a)     Certificated Security,
                               (b)     Document of Title,
                               (c)     deed, mortgage or other instrument conveying title
               to, or creating or discharging a lien upon, real property,
                               (d)     Certificate of Origin or Title,
                               (e)     Evidence of Debt,
                               (f)     corporate, partnership or personal Guarantee, or
                               (g)     Security Agreement

               Which

                                      (i)     bears a signature of any maker, drawer,
                                              issuer, endorser, assignor, lessee, transfer
                                              agent, registar, acceptor, surety, guarantor, or
                                              of any person signing in any other capacity
                                              which is a Forgery; or
                                      (ii)    is altered, or
                                      (iii)   is lost or stolen;

                     (2)    acquired, sold or delivered, or given value, extended credit
              or assumed liability, on the faith of any item listed in (a) through (d) above
              which is a Counterfeit.

                      Actual physical possession of the items listed in 9a) through (g)
              above by the insured, is a condition precedent to the insured's having relied
              on the faith of such items.

                      A mechanically reproduced facsimile signature is treated the same
              as a handwritten signature.

       28.    The policy defines "Evidence of Debt" as:


                                                 6
    Case
     Case4:17-cv-01532
          4:17-cv-01532 Document
                         Document21-1
                                  23 Filed
                                      FiledininTXSD
                                                TXSDon
                                                     on08/21/17
                                                        08/20/17 Page
                                                                  Page77ofof15
                                                                             15



                 "An instrument, including a Negotiable Instrument, executed by a customer
                 of the insured and held by the insured which in the regular course of
                 business is treated as the customer's debt to the insured."

        29.      Each Account which Briar Capital purchased from Forward was Evidence of Debt

as defined by the Bond.

        30.      Each Account was altered by Forward's Scott Wilkosz.

        31.      Briar Capital had actual physical possession of each Account it purchased from, or

extended credit upon, Forward.

        32.      Briar Capital sustained losses resulting directly from having, in good faith for its

own account either giving value or extending credit on the faith of the original Accounts which it

acquired from Forward.

       33. All conditions precedent to Briar Capital's recovery under the Bond have been

performed.

Hanover's Processing of Briar Capital's Claims

       34.       Briar Capital notified Hanover in writing of its loss as the result of being defrauded

by Forward on November 16, 2016. Within days of receiving Briar Capital's claim, Hanover

engaged its coverage counsel who immediately took charge of Hanover's communications with

Briar Capital.

       35.       Pursuant to the Bond and Hanover's instructions, Briar Capital filed a Proof of Loss

with Hanover on February 9, 2017. It also provided information responsive to certain discrete

Hanover requests about the claim and over ten thousand documents in a flash drive which Hanover

requested upon receipt of the Proof of Loss.

       36.       Thereafter Hanover and Briar Capital representatives had several communications

and telephone conferences regarding Briar Capital's claim.


                                                   7
    Case
     Case4:17-cv-01532
          4:17-cv-01532 Document
                         Document21-1
                                  23 Filed
                                      FiledininTXSD
                                                TXSDon
                                                     on08/21/17
                                                        08/20/17 Page
                                                                  Page88ofof15
                                                                             15



        37.     On March 8, 2017, Briar Capital representatives and Hanover representatives

participated in a conference call regarding Briar Capital's claims. The participants included Frank

Goldberg, Briar Capital's Chairman and CEO; Michael Jay Kuper, Briar Capital's attorney;

George Gibson, Briar Capital's attorney; and John Murphy, Briar Capital's insurance broker.

Hanover was represented by David Brown, Hanover's coverage attorney, and Ginger Johnson, a

Hanover adjuster. During that call, Mr. Brown, who was speaking and acting on Hanover's behalf,

stated that they knew when the (Briar Capital) claim came in that it was not covered. Ms. Johnson

did not rebuke or disclaim Mr. Brown's statement. Hanover continued to demand documents and

responses from Briar Capital after the March 8, 2017 call.

       38.     Notwithstanding Hanover's preemptive denial of Briar Capital's claim, Briar

Capital has fully complied in Hanover's investigation into the facts and circumstances of the claim.

Briar Capital has provided Hanover with (I) a verified Proof of Loss with a complete factual

background as requested by Hanover; (2) a flash drive filled with data and facts requested by

Hanover; (3) a four page letter with detailed responses to additional specific questions raised by

Hanover; and (4) two Dropboxes containing several thousand pages of additional documents also

requested by Hanover.

       39.     Briar Capital has also tendered five of its employees, who were specifically

requested by Hanover, for Examinations Under Oath. Hanover's attorney took those Examinations

on July 25-26, 2017.

       40.     Hanover's liability to Briar Capital's losses resulting from purchasing the Forward

documents has been clear since the dates that it filed the Proof of Loss and produced the flash drive

filled with nearly 10,000 documents requested by Hanover. However, as of the date of filing of




                                                  8
       Case
        Case4:17-cv-01532
             4:17-cv-01532 Document
                            Document21-1
                                     23 Filed
                                         FiledininTXSD
                                                   TXSDon
                                                        on08/21/17
                                                           08/20/17 Page
                                                                     Page99ofof15
                                                                                15



this First Amended Complaint, Hanover has failed and refused to honor its obligations under the

Bond and pay Briar Capital for its losses.

Briar Capital's Insured Losses

          41.   Briar Capital's losses are a direct result of fraudulently altered Accounts, including

invoices and Purchase Orders, from Forward.

          42.   The Forward Accounts which Briar Capital purchased and which remain unpaid

are:


          Date of Purchase      Account Debtor(s)                Schedule   Total Invoice
                                                                 Number        Amount
          March 7,2016         Honeywell (NM)                    337        $61,375.00
          ~arch 15, 2016       Honeywell (MX)                    338        $61,000.00
          March 16, 2016       Honeywell (Paulin) and            339        $108,136.25
                               Honeywell (NM)
          March 17, 2016       Honeywell (Paulin)                340        :1>57,180.00
          ~arch21,2016         Honeywell (Paulin)                341        $54,080.00
          March 22, 2016       Honeywell (Paulin)                342        $48,425.00
          IApri118,2016        !Honeywell (NM)                   343        $48,631.00
          April 21, 2016       1H0neywell (Al) and               344        $77,080.00
                               !Honeywell (MX)
          June 9, 2016         1H0neywell (Al) and               345        $89,609.00
                               Honeywell (MX)
          June 10,2016         ~oneywell (MX) and              346          $97,940.50
                               !Honeywell (Torrance)
           une 10,2016         Honeywell (Torrance)           347           $28,200.00
           une 13,2016         Honeywell (Torrance)           348           $34,250.00
          June 14,2016         Honeywell (Al)                 349           $48,000.00
          June 15,2016         1H0neyweil (MX)                l350          $47,500.00
           uly 6, 2016         lHoneywell (Al) and            351           $149,624.00
                                Honeywell (MX)




         43.    As ofthe filing of this First Amended Original Complaint, Hanover has refused and

failed to pay Briar Capital its covered losses under the Bond.



                                                  9
   Case
    Case4:17-cv-01532
         4:17-cv-01532 Document
                        Document21-1
                                 23 Filed
                                     FiledininTXSD
                                               TXSDon
                                                    on08/21/17
                                                       08/20/17 Page
                                                                 Page10
                                                                      10ofof15
                                                                             15



                                       CAUSES OF ACTION

First Cause ofAction - Breach of Contract

        44.     The allegations of Paragraph I through 43 are incorporated herewith by reference

and reiterated as if fully set forth verbatim.

        45.     Hanover has breached its obligations under the Bond by failing and refusing to

accept and pay Briar Capital's claim, which was both timely made and is covered by the Bond.

        46.     Briar Capital seek damages caused by these breaches, including, but not limited to,

all direct, actionable, incidental, consequential, economic, special, nominal and general damages,

with costs of Court, attorney's fees and pre- and post-judgment interest.

Second Cause ofAction - Good Faith and Fair Dealing

        47.     The allegations of Paragraphs I through 46 are incorporated herewith by reference

and reurged as iffully set forth verbatim.

        48.     The Bond created an obligation on Hanover to process Briar Capital's claim in good

faith and fair dealing.

        49.     Hanover breached that duty of good faith and fair dealing when it preemptively

determined that the claim was not covered, even before an investigation and when it failed to

approve the payment of Briar Capital's claim when coverage was reasonably clear.

        50.     Hanover's breach of duty proximately caused damages to Briar Capital. Briar

Capital seeks is damages caused by such breaches including all direct, actionable, incidental

consequential, economic, special, nominal and general damages, plus costs of Court and attorney's

fees and pre- and post-judgment interest.

       5!.      Briar Capital also seeks exemplary or punitive damages based upon Hanover's

intentional or grossly negligent conduct in the processing of Briar Capital's claim.


                                                 10
   Case
    Case4:17-cv-01532
         4:17-cv-01532 Document
                        Document21-1
                                 23 Filed
                                     FiledininTXSD
                                               TXSDon
                                                    on08/21/17
                                                       08/20/17 Page
                                                                 Page11
                                                                      11ofof15
                                                                             15



Third Cause ofAction - Chapter 541, Tex. Ins. Code

        52. The allegations of Paragraphs I through 51 are incorporated herewith and reurged as if

fully set forth verbatim.

        53.     Briar Capital invokes the provisions of § 541.001, et seq., Tex. Ins. Code

("UNFAIR METHODS OF COMPETITION AND UNFAIR OR DECEPTIVE ACTS OR

PRACTICES").

        54.     Subchapter B, § 541.051, Tex. Ins. Code, provides that "it is an unfair act or

deceptive act or practice in the business of insurance to ... (1) make, issue or circulate, or cause to

be circulated an estimate, illustration, circular or statement misrepresenting with respect to a policy

issued or to be issued: (A) the terms ofthe policy; and (B) the benefits or advantage promised by

the policy."

       55.     When Briar Capital submitted its application for insurance to Hanover, Briar

Capital included its financial statement which clearly demonstrated that approximately 5% of Briar

Capital's revenues came from its factoring operations.

       56.     Hanover issued the Financial Bond without advising Briar Capital that it did not

cover factoring, and Briar Capital paid the premium for the Bond.

       57.     During the pendency of Briar Capital's claims for the Forward losses, one of its

underwriters advised Briar Capital's insurance broker that Hanover would not renew the Bond

because Hanover never intended to cover factoring operations.

       58.     At no time during the application process or of the inception of the Policy did

Hanover advise Briar Capital that it never intended to cover factoring losses under the Bond.

       59.     Hanover's conduct as alleged above violates § 541.051 of the Insurance Code.




                                                  11
   Case
    Case4:17-cv-01532
         4:17-cv-01532 Document
                        Document21-1
                                 23 Filed
                                     FiledininTXSD
                                               TXSDon
                                                    on08/21/17
                                                       08/20/17 Page
                                                                 Page12
                                                                      12ofof15
                                                                             15



        60.       Subchapter B, § 541.060(a), Tex. Ins. Code provides that "it is ... an unfair or

deceptive act or practice in the business of insurance to engage in the following unfair settlement

practices with respect to a claim by an insured: (2) failing to attempt in good faith to effectuate a

prompt, fair and equitable settlement of (A) a claim with respect to which insurer's liability has

become reasonably during ... (4) failing within a reasonable time to (a) affirm or deny coverage of

a claim to a policyholder. .. and (7) refusing to pay a claim without conducting a reasonable

investigation with respect to the claim.

       61.     Hanover's conduct as alleged violates subchapter B, §§ 541.060(a)(2), (4) and (7),

Tex. Ins. Code.

       62.     Section 541.061, Tex. Ins. Code ("MISREPRESENTATION OF INSURANCE

POLICY") provides that:

               "It is an unfair or deceptive act or practice in the business of insurance to
               misrepresent an insurance policy by:

               (I)      making an untrue statement of material fact;

               (2)      failing to state a material fact necessary to make other statements
                        made not misleading, considering the circumstances under which
                        the statements were made;

               (3)      making a statement in a manner that would mislead a reasonably
                        prudent person to a false conclusion of a material fact;

               (4)      making a material misstatement of law; or

               (5)     failing to disclose a matter required by law to be disclosed, including
               failing to make a disclosure in accordance with another provisions of this
               code,"

       63.     Hanover's conduct as alleged violates Subchapter B, § 541.061(1) - (5).




                                                 12
   Case
    Case4:17-cv-01532
         4:17-cv-01532 Document
                        Document21-1
                                 23 Filed
                                     FiledininTXSD
                                               TXSDon
                                                    on08/21/17
                                                       08/20/17 Page
                                                                 Page13
                                                                      13ofof15
                                                                             15



            64.   Pursuant to § 541.151, Tex. Ins. Code, Briar Capital is entitled to bring an action

against Hanover for engaging in acts or practices defined by Subchapter B as unfair acts or

practices.

        65.       Pursuant to § 541.152(1), Tex. Ins. Code, Briar Capital is entitled to recover its

actual damages, court costs and reasonable and necessary attorney's fees.

        66.       Briar Capital seeks all damages caused by such breaches, including, but not limited

to, all direct, actionable, incidental, consequential, economic, special, nominal and general

damages. Briar Capital also seeks its costs of Court, attorney's fees and pre- and post-judgment

interest.

        67.       Hanover's conduct as alleged was knowingly committed. Pursuant to § 541.152(b),

Tex. Ins. Code, Briar Capital seeks an amount not to exceed three times the amount of actual

damages as additional damages.

Fourth Cause ofAction - Fraudulent Inducement

        68.       The allegations of Paragraph I through 67 are incorporated herewith by reference

and reurged as iffully set forth verbatim.

        69.       Hanover expressly intended that losses resulting from factoring operations would

not be covered under its Financial Institution Bond.

        70.       Hanover knew from Briar Capital's Application and supporting materials that Briar

Capital conducted factoring operations.

        71.       Hanover failed to disclose to Briar Capital that it would not pay for factoring losses

under the Bond.




                                                    13
   Case
    Case4:17-cv-01532
         4:17-cv-01532 Document
                        Document21-1
                                 23 Filed
                                     FiledininTXSD
                                               TXSDon
                                                    on08/21/17
                                                       08/20/17 Page
                                                                 Page14
                                                                      14ofof15
                                                                             15



        72.     Hanover's failure to disclose its intent not to cover factoring losses was an act of

knowing concealment which fraudulently induced Briar Capital to purchase coverage under the

Financial Institution Bond.

        73.    If Hanover had disclosed to Briar Capital that it did not intend that its Financial

Institution Bond would cover factoring losses, Briar Capital would not have purchased coverage

under the Financial Institution Bond. Coverage for factoring losses under financial institution

bonds was available from other insurers.

        74.    If Hanover asserts that its Financial Institution Bond does not cover Briar Capital's

claim, Briar Capital is entitled to recover all losses caused by Hanover's fraudulent inducement.

        75.    Briar Capital also seeks punitive damages from Hanover for its intended or reckless

fraudulent conduct.

                                   CONCLUSION AND PRAYER

       WHEREFORE, PREMISES CONSIDERED, Briar Capital seeks to have judgment in

its favor against Hanover, for its damages, attorney's fees, costs of Court, pre- and post-judgment

interest, exemplary and additional damages, in addition to such other and further reliefto which it

may show itself justly entitled.


                                             Respectfully submitted,


                                              By     lsi Charles W. Kelly
                                                     CHARLES W. KELLY
                                                      State Bar No. 11216850
                                                     cwkelly@cwklawyer.com

                                             ATTORNEY FOR PLAINTIFF
                                             BRIAR CAPITAL L.P.




                                                14
   Case
    Case4:17-cv-01532
         4:17-cv-01532 Document
                        Document21-1
                                 23 Filed
                                     FiledininTXSD
                                               TXSDon
                                                    on08/21/17
                                                       08/20/17 Page
                                                                 Page15
                                                                      15ofof15
                                                                             15



OF COUNSEL:
CHARLES W. KELLY, P.L.L.C.
221 N. Kansas, Suite 747
El Paso, Texas 79901
(915) 242-2125 - Telephone
(915) 242-2101 - Facsimile

MICHAL JAY KUPER
A Professional Corporation
Michael Jay Kuper
State Bar No. 11765000
2901 Via Fortuna Drive, Suite 500
Austin, Texas 78746
(512) 874-3895 - Telephone
(512) 892-4800 - Facsimile
mkuper@kuperlawfirm.com

                               CERTIFICATE OF SERVICE

        This is to certify that on the 20th day of August, 2017, a true and correct copy of the
foregoing has been transmitted via the Court's ECF filing system to the following counsel of
record:

Brenda Neel Hight, Esq.
Kaufman Dolowich & Voluck, LLP
3838 Oak Lawn Avenue, Suite 1000 #187
Dallas, Texas 75219
Email: Brenda.hight@brendahightlaw.com
Emai: bhight@kdvlaw.com


David T. Brown, Esq.
Andrew S. Johnson, Esq.
Kaufinan Dolowich & Voluck, LLP
135 S. LaSalle Street, Suite 2100
Chicago, Illinois 60603
dbrown@kdvlaw.com
ajohnson@kdvlaw.com



                                                          /s/ Charles W. Kelly
                                                          CHARLES W. KELLY




                                              15
